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      AO 245B-CAED(Rev. 09/2011) Sheet 1 - Amended Judgment in a Criminal Case        (NOTE: Identify Changes with Asterisks*)



                                    UNITED STATES DISTRICT COURT
                                                         Eastern District of California
                    UNITED STATES OF AMERICA                                        FIRST AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                    (For Offenses Committed On or After November 1, 1987)
                               v.
                   ROBERT ANTHONY CANCHOLA                                          Case Number: 1:13CR00392-005
                                                                                    Defendant's Attorney: PETER JONES, Appointed
       Date of Original Judgment:              November 16, 2015
       (Or Date of Last Amended Judgment)

       Reason for Amendment:
          Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                    Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
                                                                                      Modification of Imposed Term of Imprisonment for Extraordinary and
          Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b))
                                                                                      Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                                      Modification of Imposed Term of Imprisonment for Retroactive Amendment
          Correction of Sentence by Sentencing Court (Fed R. Crim. P. 35(c))
                                                                                      (s) to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
          Correction of Sentence for Clerical Mistake (Fed R. Crim. P. 36)            Direct Motion to District Court Pursuant to    28 U.S.C. §2255,
                                                                                          18 U.S.C. §3559(c)(7),      Modification of Restitution Order
      THE DEFENDANT:
           pleaded guilty to count(s) ONE and TWO of the Superseding Information.
           pleaded nolo contendere to count(s)      which was accepted by the court.
           was found guilty on count(s)     after a plea of not guilty.
      ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                                            Date Offense            Count
       Title & Section                         Nature Of Offense
                                                                                                                            Concluded               Number
                                       Conspiracy to Manufacture and Distribute Marijuana, 50 or More
       21 U.S.C. §§ 846, 841(a)(1) and                                                                10/1/2012 -
                                       Plants                                                                                                       One
       (b)(1)(C)                                                                                      1/8/2014
                                       (Class C Felony)
       21 U.S.C. §§ 841(a)(1) and (b)          Possession of Methamphetamine With the Intent to Distribute
                                                                                                                            1/8/2014                Two
       (1)(C)                                  (Class C Felony)

             The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
      Sentencing Reform Act of 1984.

           The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
           Count (s)      dismissed on the motion of the United States.
           Indictment is to be dismissed by District Court on motion of the United States.
           Appeal rights given.                              Appeal rights waived.

              IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
      change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
      fully paid. If ordered to pay restitution or fine, the defendant must notify the court and United States Attorney of material changes in
      economic circumstances.
                                                                                    11/16/2015
                                                                                    Date of Imposition of Judgment
                                                                                    /s/ Lawrence J. O'Neill
                                                                                    Signature of Judicial Officer
                                                                                    Lawrence J. O'Neill, United States District Judge
                                                                                    Name & Title of Judicial Officer
                                                                                    11/25/2015
                                                                                    Date




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      AO 245B-CAED(Rev. 09/2011) Sheet 2 - Imprisonment
      DEFENDANT:ROBERT ANTHONY CANCHOLA                                                                                               Page 2 of 6
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                                                                IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
      70 months custody on each Counts 1 and 2, to be served concurrently for a total term of 70 months.

            No TSR: Defendant shall cooperate in the collection of DNA.

            The court makes the following recommendations to the Bureau of Prisons:
            The Court recommends the defendant participate in the 500-Hour Bureau of Prisons Substance Abuse Treatment Program. The
            Court recommends the defendant be incarcerated at an institution in Taft, California, but only insofar as this recommendation
            accords with the security classification and space availability.

            The defendant is remanded to the custody of the United States Marshal.

             The defendant shall surrender to the United States Marshal for this district
                    at     on     .
                    as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                     before       on    .
                     as notified by the United States Marshal.
                     as notified by the Probation or Pretrial Services Officer.
             If no such institution has been designated, to the United States Marshal for this district.

                                                                      RETURN
      I have executed this judgment as follows:




              Defendant delivered on                                                       to
      at                                                  , with a certified copy of this judgment.



                                                                             United States Marshal


                                                                             By Deputy United States Marshal




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      AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
      DEFENDANT:ROBERT ANTHONY CANCHOLA                                                                                                 Page 3 of 6
      CASE NUMBER:1:13CR00392-005

                                                                SUPERVISED RELEASE
       Upon release from imprisonment, the defendant shall be on supervised release for a term of :
       *36 months on each Counts 1 and 2, to be served concurrently for a total term of 36 months.

       The defendant must report to the probation office in the district to which the defendant is released within seventy-two hours of
       release from the custody of the Bureau of Prisons.

       The defendant shall not commit another federal, state or local crime.

       The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
       substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two (2) periodic drug
       tests thereafter, not to exceed four (4) drug tests per month.

             The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
             substance abuse.

             The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

             The defendant shall cooperate in the collection of DNA as directed by the probation officer.

             The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
             seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
             she resides, works, is a student, or was convicted of qualifying offense.

             The defendant shall participate in an approved program for domestic violence.

       If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
       with the Schedule of Payments sheet of this judgment.

       The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
       conditions on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
       1.      The defendant shall not leave the judicial district without permission of the court or probation officer;
       2.      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3.      the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
       4.      the defendant shall support his or her dependents and meet other family responsibilities;
       5.      the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
               other acceptable reasons;
       6.      the defendant shall notify the probation officer ten days prior to any change in residence or employment;
       7.      the defendant shall refrain from excessive use of alcohol;
       8.      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9.      the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
               convicted of a felony unless granted permission to do so by the probation officer;
       10.     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
               confiscation of any contraband observed in plain view by the probation officer;
       11.     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
               enforcement officer;
       12.     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
               the permission of the court;
       13.     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
               criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
               confirm the defendant’s compliance with such notification requirement.




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      AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
      DEFENDANT:ROBERT ANTHONY CANCHOLA                                                                                                  Page 4 of 6
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                                               SPECIAL CONDITIONS OF SUPERVISION
       1.      The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
               any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
               suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
               any other residents that the premises may be subject to searches pursuant to this condition.
       2.      The defendant shall provide the probation officer with access to any requested financial information.
       3.      As directed by the probation officer, the defendant shall participate in an outpatient correctional treatment program to obtain
               assistance for drug or alcohol abuse.
       4.      As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat patch,
               etc.) to determine if he has reverted to the use of drugs or alcohol.
       5.      The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places where alcohol is the chief
               item of sale.
       6.      As directed by the probation officer, the defendant shall participate in a program of outpatient mental health treatment.
       7.      As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall
               make payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.
       8.      The defendant shall register, as required in the jurisdiction in which he resides, as a drug offender.
       9.      The defendant shall be prohibited from using prescription marijuana and/or Marinol.




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      AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
      DEFENDANT:ROBERT ANTHONY CANCHOLA                                                                                                 Page 5 of 6
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                                                    CRIMINAL MONETARY PENALTIES

                The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                                      Assessment                     Fine               Restitution
                TOTALS                                                 $200.00
            The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
            after such determination.

            The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

            If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
            otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
            victims must be paid before the United States is paid.

       Name of Payee                                               Total Loss*       Restitution Ordered Priority or Percentage
       Totals                                                     $____                    $____
            Restitution amount ordered pursuant to plea agreement $

            The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
            the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
            subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

            The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    The interest requirement is waived for the             fine     restitution

                    The interest requirement for the           fine       restitution is modified as follows:


            If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
            through the Bureau of Prisons Inmate Financial Responsibility Program.

            If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
            shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
      *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
      on or after September 13, 1994, but before April 23, 1996.




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      AO 245B-CAED(Rev. 09/2011) Sheet 6 - Schedule of Payments
      DEFENDANT:ROBERT ANTHONY CANCHOLA                                                                                                    Page 6 of 6
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                                                          SCHEDULE OF PAYMENTS
              Payment of the total fine and other criminal monetary penalties shall be due as follows:

       A.              Lump sum payment of $         200.00 due immediately, balance due
                             Not later than      , or
                             in accordance          C,       D,     E,or        F below; or
       B.              Payment to begin immediately (may be combined with              C,        D,    or    F below); or

       C.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of          (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

       D.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

       E.              Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                       from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                       that time; or

       F.              Special instructions regarding the payment of crimimal monetary penalties:

       Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
       due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
       Inmate Financial Responsibility Program, are made to the clerk of the court.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

               Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate:

               The defendant shall pay the cost of prosecution.

               The defendant shall pay the following court cost(s):

               The defendant shall forfeit the defendant's interest in the following property to the United States:

       Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
       (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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